                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

MULTIPLAN, INC., and PRIVATE
HEALTHCARE SYSTEMS, INC.                                               PLAINTIFFS

v.                                                CAUSE NO. 1:14CV315-LG-RHW

STEVEN W. HOLLAND, doing business as
Physical Therapy Clinic of Gulfport, and
KEVIN BARRETT, doing business as Quest
Financial Recovery Services                                          DEFENDANTS

                           PRELIMINARY INJUNCTION

      BEFORE THE COURT is the Second Motion for Temporary Restraining

Order [23] filed by the plaintiffs, Multiplan, Inc. and Private Healthcare Systems,

Inc. A hearing was held on the plaintiffs’ Motion on October 21, 2014. The

defendant, Steven W. Holland, appeared and represented himself at the hearing,

but the defendant, Kevin Barrett, did not appear. Both defendants also provided

written responses in opposition to the Motion. Since the defendants were provided

with notice of the hearing on the plaintiffs’ Motion for Temporary Restraining Order

and they have both responded to the Motion, the Court finds that the plaintiffs’

Motion should be construed as a Motion for a Preliminary Injunction.

      For the reasons stated in this Court’s prior Order [7] granting the plaintiffs’

first request for a Temporary Restraining Order and for the reasons stated on the

record at the hearing held in this matter and after considering additional evidence

presented at the hearing, the Court finds that the Motion should be granted as to

Barrett, but denied as to Holland. The $5000.00 bond previously posted by the

plaintiffs shall remain in effect.
      IT IS, THEREFORE, ORDERED AND ADJUDGED that the Motion for

Temporary Restraining Order [23] filed by the plaintiffs, Multiplan, Inc. and

Private Healthcare Systems, Inc., which this Court has construed as a Motion for a

Preliminary Injunction, is GRANTED as to the defendant, Kevin Barrett, doing

business as Quest Financial Recovery Services, and DENIED as to the defendant,

Steven W. Holland, doing business as Physical Therapy Clinic of Gulfport.

      IT IS, FURTHER, ORDERED AND ADJUDGED that Kevin Barrett,

doing business as Quest Financial Recovery Services, and his officers, agents,

employees, representatives, and attorneys, and any other person(s) acting in active

concert with him or on his behalf, is hereby enjoined from filing and threatening to

file a Commercial Lien, or any other lien or unlawful proceedings, against the

plaintiffs, or their clients, their officers, agents, employees, representatives, and

attorneys, in any manner so as to harass the plaintiffs, their clients, officers,

agents, employees, representatives, and attorneys, and/or encumber their property

or any other belongings.

      SO ORDERED AND ADJUDGED this the 21st day of October, 2014.



                                                 s/   Louis Guirola, Jr.
                                                 LOUIS GUIROLA, JR.
                                                 CHIEF U.S. DISTRICT JUDGE




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